









	



NUMBER 13-06-00405-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


                                                                                                                      


JOE GUADALUPE BALLESTEROS,					Appellant,


v.



NUECES COUNTY, TEXAS,						  Appellee.

                                                                                                                                      


On appeal from the 347th District Court of Nueces County, Texas.


                                                                                                                      


OPINION ON REHEARING



Before Justices Yañez, Benavides and Vela


Opinion On Rehearing by Justice Benavides



	We grant appellant's motion for rehearing, deny his motion for rehearing en banc,
vacate and withdraw our opinion dated August 31, 2007, and issue this opinion on
rehearing in its place.

	On March 21, 2006, appellant, Joe Guadalupe Ballesteros, sued Nueces County,
Texas, under section 451.001 of the labor code.  See Tex. Lab. Code Ann. § 451.001
(Vernon 2006) (prohibiting the firing of an employee for, among other things, filing "a
worker's compensation claim in good faith").  Nueces County filed a "Plea to the
Jurisdiction and Motion to Dismiss," arguing that Ballesteros failed to comply with section
89.0041 of the local government code.  See Tex. Loc. Gov't Code Ann. § 89.0041 (Vernon
2008).  The trial court granted the plea and the motion, finding them "meritorious," and
dismissed Ballesteros's suit.  On appeal, Ballesteros argues that the trial court erred in
dismissing his suit because (1) section 89.0041 is not jurisdictional, and (2) he complied
with section 89.0041 of the local government code. (1)  We reverse and remand.

I.     Factual and Procedural Background


	On January 16, 2003, while a captain in the Nueces County Sheriff's Department,
Ballesteros suffered an on-the-job injury and filed a worker's compensation claim.  Due to
this injury, Ballesteros missed work for an extended period of time.  On November 12,
2003, Ballesteros's health care provider released him to return to work on a part-time
basis.  Nueces County denied Ballesteros the opportunity to return to work, and on
November 14, Sheriff Larry Olivarez terminated Ballesteros's employment.

	Upon his termination, Ballesteros filed an employment grievance with Nueces
County contesting the termination.  On December 17, 2003, the Nueces County
Commissioners' Court considered Ballesteros's grievance and referred the grievance back
to the sheriff's department for disposition.  The sheriff's department did not reinstate
Ballesteros's employment.  


	On January 18, 2005, Ballesteros sued Nueces County in federal district court,
asserting violations of the Constitution, 42 U.S.C. Section 1983, Title VII of the Civil Rights
Act, and the Texas Labor Code.  See U.S. Cons. amends. V, XIV; 42 U.S.C. §§ 1983,
2000e-2; Tex. Lab. Code Ann. § 451.001.  Litigation continued in the federal district court
for more than a year while the parties filed responsive pleadings and motions.  The federal
district court's docket sheet for the case reflects that between Nueces County, Ballesteros,
and the court, approximately sixty docket entries were generated.  

	On March 8, 2006, the federal district court held a hearing during which the judge
discussed dismissal with the parties.  Ultimately, upon the parties' agreement to end
discovery and to proceed in state court only on the labor code section 451.001 claim, the
court dismissed the case without prejudice so that Ballesteros could file his action in state
court.

	On March 21, 2006, Ballesteros filed the present action in state district court.  On
March 22, 2006, Ballesteros faxed a copy of his original petition to the Nueces County
Attorney's Office.  On March 29, 2006, by private process server, Ballesteros served a
copy of his original petition on Nueces County Judge Terry Shamsie.  On April 21, 2006,
Nueces County answered and filed a plea to the jurisdiction and motion to dismiss.  

	In its plea and motion, Nueces County asserted that Ballesteros failed to comply
with section 89.0041 of the local government code and argued that this failure is a
jurisdictional defect robbing the state district court of jurisdiction under section 311.034 of
the government code.  See Tex. Loc. Gov't Code Ann. § 89.0041; Tex. Gov't Code Ann.
§ 311.034 (Vernon Supp. 2008).  On July 7, 2006, the district court granted the plea and
motion and dismissed Ballesteros's claim.  Ballesteros appealed.

II.     Standard of Review


	A plea to the jurisdiction seeks to defeat a cause of action without considering the
merits of the claim.  See Dallas County v. Coskey, 247 S.W.3d 753, 754 (Tex. App.-Dallas
2008, pet. denied) (citing Bland Indep. Sch. Dist. v Blue, 34 S.W.3d 547, 554 (Tex. 2000)). 
Whether a court has subject-matter jurisdiction is a question of law; therefore, we review
a court's ruling on a plea to the jurisdiction de novo.  Id. (citing Tex. Dep't of Parks &amp;
Wildlife v. Miranda, 133 S.W.3d 217, 226 (Tex. 2004)).

III.     Discussion


	Ballesteros's appellate issues require us to decide whether section 89.0041 of the
local government code is jurisdictional and, if not, whether substantial compliance with
section 89.0041's requirements is sufficient to withstand a motion to dismiss.  See Tex.
Loc. Gov't Code Ann. § 89.0041.  Section 89.0041(a) provides that "[a] person filing suit
against a county or against a county official in the official's capacity as a county official
shall deliver written notice to:  (1) the county judge; and (2) the county or district attorney
having jurisdiction to defend the county in a civil suit."  Id. at 89.0041(a).  Such "notice must
be delivered by certified or registered mail by the 30th business day after suit is filed&nbsp;.&nbsp;.&nbsp;.&nbsp;." 
Id. at 89.0041(b).  "If a person does not give notice as required by this section, the court
in which the suit is pending shall dismiss the suit on a motion for dismissal made by the
county or the county official."  Id. at 89.0041(c).  Ballesteros asserts that section 89.0041
is not jurisdictional and that he complied with the statute.  We agree.

A.	Is Section 89.0041 Jurisdictional?

	In its plea to the jurisdiction, Nueces County argued that Ballesteros failed to comply
with section 89.0041 of the local government code and that his failure to do so relieved the
trial court of jurisdiction under section 311.034 of the government code.  See Tex. Loc.
Gov't Code Ann. § 89.0041; Tex. Gov't Code Ann. § 311.034.  Section 311.034 provides
that "[s]tatutory prerequisites to a suit, including the provision of notice, are jurisdictional
requirements in all suits against a governmental entity."  Tex. Gov't Code Ann. § 311.034. 
To determine whether section 89.0041 is jurisdictional, we must construe the relevant
statutes.

	Our primary goal in interpreting statutes is to determine and effectuate the
legislature's intent in promulgating the statute.  Coskey, 247 S.W.3d at 755 (citing In re
Canales, 52 S.W.3d 698, 701 (Tex. 2001)).  We assume the legislature means what it
says, so we begin our interpretation with the plain language of the statute.  Id.  "[T]he
statute's words should be the surest guide to the legislature's intent."  Id. (citing Fitzgerald
v. Advanced Spine Fixation Sys., Inc., 996 S.W.2d 864, 865-66 (Tex. 1999)).

	As the Dallas Court of Appeals recognized, the quoted portion of section 311.034
"addresses provisions of notice that are 'statutory prerequisites to a suit.'" Id. (quoting Tex.
Gov't Code Ann. § 311.034).  "A prerequisite is 'something that is required beforehand.'" 
Dallas County v. Hughes, 189 S.W.3d 886, 888 (Tex. App.-Dallas 2006, pet. denied)
(quoting Webster's Third International Dictionary 1791 (1981); see County of Bexar
v. Bruton, 256 S.W.3d 345, 348 (Tex. App.-San Antonio 2008, no pet.).  While section
311.034 addresses notice provisions that are "statutory prerequisites to a suit," section
89.0041's written notice requirement is a post-suit notice provision.  See Tex. Gov't Code
Ann. § 311.034;  Tex. Loc. Gov't Code Ann. § 89.0041(b); Coskey, 247 S.W.3d at 755. 
Section 89.0041 requires that written notice must be delivered to certain parties "by
certified or registered mail by the 30th business day after suit is filed."   Tex. Loc. Gov't
Code Ann. § 89.0041(b) (emphasis added).  By its plain language, section 311.034 applies
to actions that must be taken before a lawsuit is filed; therefore, it does not apply to section
89.0041 because section 89.0041 requires notice only after suit is filed.  See Tex. Gov't
Code Ann. § 311.034;  Tex. Loc. Gov't Code Ann. § 89.0041(b); Coskey, 247 S.W.3d at
755.  Accordingly, we hold that section 311.034 does not make compliance with section
89.0041 jurisdictional.  Coskey, 247 S.W.3d at 755.

B.	Is Substantial Compliance with Section 89.0041 Sufficient?

	Having held that compliance with section 89.0041 is not jurisdictional, we must now
consider whether substantial compliance with section 89.0041 is sufficient to withstand a
motion to dismiss brought under section 89.0041(c).  See Tex. Loc. Gov't Code Ann. §
89.0041(c).  In Coskey, the Dallas Court of Appeals answered this question in the
affirmative.  247 S.W.3d at 757.  

	In that case, Coskey sued Dallas County for wrongful termination prohibited by the
"Whistleblower Act."  See Tex. Gov't Code Ann. §§ 554.001-.010 (Vernon 2004); Coskey,
247 S.W.3d at 754.  Within thirty days of filing suit, the following items were delivered to
the county judge: (1) a citation, (2) Coskey's original petition and request for disclosure,
and (3) exhibits.  Coskey, 247 S.W.3d at 754.  Also, within thirty days of filing suit,
Coskey's counsel sent a letter to a Dallas County assistant district attorney requesting
dates for depositions and a first request for production.  Id.  Dallas County answered within
twenty days of the suit being filed, and on the same day it answered, it served a request
for disclosure.  Id.  Dallas County filed a plea to the jurisdiction and motion to dismiss
arguing that because it had not received a certified or registered letter within thirty days of
Coskey's filing suit as required by section 89.0041(b), the trial court lacked jurisdiction.  Id. 
The trial court denied Dallas County's plea and motion.  Id.

	On appeal, the Dallas Court of Appeals held that section 89.0041 is not
jurisdictional.  Id. at 756.  Additionally, the court noted that "[s]ection 89.0041's notice of
suit requirement against a county serves the purpose of aiding in the management and
control of the City's finances and property" and that "[t]he manner of delivery specified by
the statute assures that county officials will receive notice of a suit after it has been filed
to enable it to respond timely and prepare a defense."  Id. at 757.  Finding that Coskey's
"citation, original petition and request for disclosure, and exhibits met these purposes of
the notice of suit requirement," along with the fact that the county answered and
participated in discovery, all within thirty days of suit being filed, the court concluded that
"within thirty days of the date suit was filed, the county judge and lawyer representing the
county had actual knowledge of the information required to be disclosed by section
89.0041."  Id.; see Tex. Loc. Gov't Code Ann. 89.0041(b); see also Dallas County v. Autry,
251 S.W.3d 155, 158 (Tex. App.-Dallas 2008, pet. filed) (holding that plaintiff substantially
complied with section 89.0041 because within thirty days of suit being filed, (1) the county
judge was served with citation; and (2) the county, through the district attorney's office,
answered).  The court then held that because Coskey substantially complied with section
89.0041, dismissal under section 89.0041(c) was not mandatory.  Id.  


	In reaching its conclusion that substantial compliance with 89.0041 is sufficient, the
Dallas Court of Appeals relied on two Texas Supreme Court cases which we believe also
apply to the present case.  First, in Artco-Bell Corp. v. City of Temple, the plaintiff sent a
notice letter that complied with all requirements of the city charter except that the letter was
not verified.  616 S.W.2d 190, 191 (Tex. 1981).  The defendant moved for summary
judgment on various grounds, including the assertion that the plaintiff failed to properly
notify the defendant of its claim as required by the city charter.  Id.  The trial court granted
the motion for summary judgment, and the appellate court affirmed.  Id.  The supreme
court stated that "[t]he purpose of the notice requirement is to provide the municipality with
an opportunity to investigate an accident while facts are fresh and conditions remain
substantially the same, thereby enabling the City to guard against unfounded claims and
to settle claims and to prepare for trial."  Id. at 192.  Furthermore, "notice provisions are to
be regarded as in aid of the management and control of the City's finances and property." 
Id.  Holding that the verified notice provision was invalid because it was beyond the
authority of the city, the supreme court stated, "rather than to aid in the administration of
justice by preventing spurious and unfounded claims, the verification notice in fact places
an obstacle in the path of citizens pursuing a legitimate redress for wrongs committed by
public entities."  Id. at 193.

	Second, in Cox Enterprises, Inc. v. Board of Trustees of Austin Independent School
District, the Texas Supreme Court considered the advance notice provision of the Texas
Open Meetings Act, which required governmental entities to provide notice of the subject
of a meeting before the meeting was held.  706 S.W.2d 956, 958-59 (Tex. 1986); see Tex.
Gov't Code Ann. § 551.041 (Vernon 2004); see also Tex. Gov't Code Ann. § 551.141
(Vernon 2004) (noting that actions taken in violation of section 551.041 are voidable).  The
supreme court decided that the purpose of the notice requirement was to ensure that the
topic to be considered at the meeting was made public with reasonable specificity when
the public has a special interest in the topic, and that substantial compliance is sufficient. 
Id.  The court held that notice describing the topic generally like "personnel" or "litigation,"
without a more specific description, did not amount to substantial compliance with the
statute.  Id. at 959-60.  

	As the Dallas Court of Appeals noted, both of these cases "support a standard of
substantial compliance with notice requirements under certain circumstances, and we
conclude that standard applies in these circumstances."  Coskey, 247 S.W.3d at 757.  The
notice provision of section 89.0041 aids in the management and control of a county's
finances and property.  See id.  Notice provided under the statute ensures that the county
is able to timely respond to and prepare a defense to the suit.  See id.  We agree with the
Dallas Court of Appeals that substantial compliance with section 89.0041, such that the
county defendant has actual knowledge of the information required to be disclosed by
section 89.0041, is sufficient to avoid dismissal under section 89.0041(c).  See id.

	The Dallas Court of Appeals followed its Coskey decision in Dallas County v. Autry,
251 S.W.3d at 158.  In Autry, the court reaffirmed that "section 89.0041 is not jurisdictional
and that substantial compliance satisfies its notice requirements."  Id.  The court found that
Autry substantially complied with section 89.0041 because the record showed that "the
citation was issued and served on the county judge within thirty days after suit was filed
and, within the same time period, the County through the district attorney's office filed an
answer."  Id.  

	As in Coskey and Autry, the record in the present case demonstrates that Nueces
County had actual knowledge of "(1) the style and cause number of the suit; (2) the court
in which the suit was filed; (3) the date on which the suit was filed; and (4) the name of the
person filing suit."  See Tex. Loc. Gov't Code Ann. 89.0041(b); Autry, 251 S.W.3d at 158;
Coskey, 247 S.W.3d at 757.  On March 8, 2006, during the hearing before the federal
district court judge, the district attorney, on behalf of Nueces County, agreed to dismissal
of the federal suit so that Ballesteros could file his retaliation claim in state court. 
Ballesteros agreed, in the same hearing, to not advance in state court any claims other
than his retaliation claim.  

	Thirteen days later, on March 21, 2006, Ballesteros filed suit against Nueces County
in state district court on that exact claim, as the parties had discussed with the federal
district court judge.  Then, on March 22, 2006, Ballesteros faxed the Nueces County
attorney a copy of his original petition.  On March 29, 2006, Ballesteros perfected service
of process on Nueces County Judge Terry Shamsie.

	Ballesteros's original petition showed "(1) the style and cause number of the suit;
(2) the court in which the suit was filed; (3) the date on which the suit was filed; and (4) the
name of the person filing suit," the precise information required by section 89.0041(b).  See
id.  On April 21, 2006, Nueces County filed an original answer, a plea to the jurisdiction,
and a motion to dismiss.  Nueces County's actions indicate that it had actual knowledge
of the information required by section 89.0041(b).  See id.  Through his federal lawsuit and
state court filings, Ballesteros provided more information to Nueces County than did the
plaintiff in Autry, where the Dallas Court of Appeals found substantial compliance through
the filing of an original petition, perfecting service on the county judge, and the district
attorney's filing an answer.  See Autry, 251 S.W.3d at 158.  Based on the facts of the
present case, we hold that Ballesteros has substantially complied with section 89.0041 and
that the trial court erred in dismissing his suit under section 89.0041.  See Tex. Loc. Gov't
Code Ann. § 89.0041; Autry, 251 S.W.3d at 158; Coskey, 247 S.W.3d at 757.

IV.  Conclusion


	Having sustained Ballesteros's first two appellate issues, we reverse the judgment
of the trial court, order Ballesteros's suit reinstated, and remand the case for proceedings
in accordance with this opinion.


								___________________________

								GINA M. BENAVIDES,

								Justice


Dissenting Opinion on

rehearing by Justice Rose Vela.



Opinion on rehearing delivered and

filed this the 14th day of May, 2009.



1.  Because we sustain Ballesteros's first two issues, we do not address the additional issues he raises
on appeal.

